             Case 8-20-08049-ast       Doc 3      Filed 04/30/20        Entered 04/30/20 22:31:59




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                                                 :
    In re:                                                                       :   Chapter 11
                                                                                 :
    ORION HEALTHCORP, INC1.                                                      :   Case No. 18-71748 (AST)
                                                                                 :
                                          Debtors.                               :   (Jointly Administered)
                                                                                 :
    HOWARD M. EHRENBERG IN HIS CAPACITY AS                                       :
    LIQUIDATING TRUSTEE OF ORION HEALTHCORP, INC.,                               :   Adv. Pro. No. 20-08049 (AST)
    ET AL.,                                                                      :
                                                                                 :
                                             Plaintiff,                          :
                                                                                 :
    v.                                                                           :
                                                                                 :
    ARVIND WALIA; NIKNIM MANAGEMENT INC.,                                        :
                                                                                 :
                                             Defendants.                         :
                                                                                 :

                                        AFFIDAVIT OF SERVICE

STATE OF NEW YORK  )
                   ) ss:
COUNTY OF NEW YORK )

             La Asia S. Canty, being duly sworn, affirms, deposes and says:

             I am over the age of eighteen years, am employed by Pachulski Stang Ziehl & Jones LLP

and am not a party to the action herein.




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network Management, LLC
(7168). The corporate headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North,
Suite 303, Middletown, NJ 07748




DOCS_NY:40448.1 65004/003
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        On March 16, 2020, I caused the: (1) Summons in an Adversary Proceeding; and (2)

Complaint For Avoidance and Recovery of Preferential Transfers Pursuant to 11 U.S.C. §§ 547

& 550 to be served upon the parties listed on the Service List attached hereto by: (i) First Class

Mail; and/or (ii) by Certified Mail, Return Receipt Requested postage paid and deposited with

the U.S. Postal Service.


                                                        /s/ La Asia S. Canty
                                                            La Asia S. Canty

SWORN TO AND SUBSCRIBED before me this
30th day of April, 2020

 /s/ Rhea S. Cheltenham
RHEA S. CHELTENHAM
NOTARY PUBLIC, STATE OF NEW YORK
Registration No. 01CH6362269
Qualified in Kings County
Commission Expires July 31, 2021




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                                      SERVICE LIST

NIKNIM MANAGEMENT INC.
ATTN: ARVIND WALIA, OFFICER
27 KETTLEPOND ROAD
JERICHO, NY 11753

ARVIND WALIA
49 MAPLE RUN DRIVE
JERICHO, NY 11753-2841

ARVIND WALIA
27 KETTLEPOND ROAD
JERICHO, NY 11753

ARVIND WALIA
STEVEN LANDY & ASSOCIATES PLLC
270 MADISON AVENUE, SUITE 1400
NEW YORK, NY 10016




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4/30/2020                                                      USPS.com® - USPS Tracking® Results

  Tracking Number: 70033110000366213284

  Your item has been delivered to the original sender at 10:17 am on April 20, 2020 in WILMINGTON, DE
  19801.




  Delivered
  April 20, 2020 at 10:17 am
  Delivered, To Original Sender
  WILMINGTON, DE 19801

  Get Updates



      Text & Email Updates


      Tracking History


      April 20, 2020, 10:17 am
      Delivered, To Original Sender
      WILMINGTON, DE 19801
      Your item has been delivered to the original sender at 10:17 am on April 20, 2020 in WILMINGTON, DE
      19801.




      Reminder to Schedule Redelivery of your item



      April 10, 2020, 11:11 am
      Available for Pickup
      WILMINGTON, DE 19801



      April 10, 2020, 10:46 am
      Arrived at Unit
      WILMINGTON, DE 19801



      April 9, 2020
      In Transit to Next Facility



      April 8, 2020, 8:30 pm
      Departed USPS Regional Facility
      WILMINGTON DE DISTRIBUTION CENTER


https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=13&text28777=&tLabels=70033110000366213284%2C70033110000366213260%2C700331100…   1/2
                    Case 8-20-08049-ast              Doc 3       Filed 04/30/20         Entered 04/30/20 22:31:59
4/30/2020                                                      USPS.com® - USPS Tracking® Results
      April 8, 2020, 3:22 pm
      Arrived at USPS Regional Facility
      WILMINGTON DE DISTRIBUTION CENTER



      March 23, 2020, 8:25 pm
      Departed USPS Regional Facility
      HARTFORD CT DISTRIBUTION CENTER



      March 23, 2020, 4:06 pm
      Arrived at USPS Regional Facility
      HARTFORD CT DISTRIBUTION CENTER



      March 18, 2020, 9:25 am
      Addressee Unknown
      HICKSVILLE, NY 11801



      March 18, 2020, 3:03 am
      Departed USPS Regional Facility
      MID NY DISTRIBUTION CENTER



      March 17, 2020, 12:24 pm
      Arrived at USPS Regional Facility
      MID NY DISTRIBUTION CENTER



      March 17, 2020, 11:26 am
      Departed USPS Regional Facility
      WILMINGTON DE DISTRIBUTION CENTER



      March 16, 2020, 9:34 pm
      Arrived at USPS Regional Facility
      WILMINGTON DE DISTRIBUTION CENTER




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=13&text28777=&tLabels=70033110000366213284%2C70033110000366213260%2C700331100…   2/2
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                    Case 8-20-08049-ast              Doc 3       Filed 04/30/20         Entered 04/30/20 22:31:59
4/30/2020                                                      USPS.com® - USPS Tracking® Results

  Tracking Number: 70033110000366213277

  Your item has been delivered to the original sender at 10:52 am on April 24, 2020 in WILMINGTON, DE
  19801.




  Delivered
  April 24, 2020 at 10:52 am
  Delivered, To Original Sender
  WILMINGTON, DE 19801

  Get Updates



      Text & Email Updates


      Tracking History


      April 24, 2020, 10:52 am
      Delivered, To Original Sender
      WILMINGTON, DE 19801
      Your item has been delivered to the original sender at 10:52 am on April 24, 2020 in WILMINGTON, DE
      19801.



      April 23, 2020
      In Transit to Next Facility



      April 19, 2020, 7:22 pm
      Departed USPS Regional Facility
      WILMINGTON DE DISTRIBUTION CENTER



      April 19, 2020, 2:41 pm
      Arrived at USPS Regional Facility
      WILMINGTON DE DISTRIBUTION CENTER



      April 18, 2020, 6:16 pm
      Departed USPS Regional Facility
      HARTFORD CT DISTRIBUTION CENTER



      April 12, 2020, 9:41 pm
      Arrived at USPS Regional Facility
      HARTFORD CT DISTRIBUTION CENTER

https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=7&text28777=&tLabels=70033110000366213314%2C70033110000366213277%2C7003311000…   1/2
                    Case 8-20-08049-ast              Doc 3       Filed 04/30/20         Entered 04/30/20 22:31:59
4/30/2020                                                      USPS.com® - USPS Tracking® Results


      April 3, 2020, 9:41 am
      Unclaimed/Being Returned to Sender
      JERICHO, NY 11753




      Reminder to Schedule Redelivery of your item



      March 19, 2020, 8:14 am
      Available for Redelivery or Pickup
      JERICHO, NY 11753



      March 18, 2020, 1:51 pm
      Notice Left (No Authorized Recipient Available)
      JERICHO, NY 11753



      March 18, 2020, 3:01 am
      Departed USPS Regional Facility
      MID NY DISTRIBUTION CENTER



      March 17, 2020, 6:32 pm
      Arrived at USPS Regional Facility
      MID NY DISTRIBUTION CENTER



      March 17, 2020, 11:26 am
      Departed USPS Regional Facility
      WILMINGTON DE DISTRIBUTION CENTER



      March 16, 2020, 9:34 pm
      Arrived at USPS Regional Facility
      WILMINGTON DE DISTRIBUTION CENTER




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=7&text28777=&tLabels=70033110000366213314%2C70033110000366213277%2C7003311000…   2/2
